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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION


IN RE:                                    )
                                          )
GEMBER BERUK,                             ) CASE NO. 22-10913-BFK
                                          )
                  Debtor.                 )
__________________________________________)
                                          )
GEMBER BERUK,                             )
                                          )
                  Plaintiff,              )
                                          )
            v.                            ) AD. PRO. NO. 22-01050-BFK
                                          )
U.S. DEPARTMENT OF EDUCATION, ET AL., )
                                          )
                  Defendants.             )

     CONSENT MOTION FOR ENTRY OF ORDER DISCHARGING STUDENT LOANS
                 AND MEMORANDUM IN SUPPORT THEROF

         The United States of America requests that the Court enter an order discharging the

Plaintiff’s student loans at issue in this proceeding pursuant to the provisions of 11 U.S.C.

Section 523(a)(8). Counsel for the United States has discussed the relief requested in this motion

with counsel for the Plaintiff who consents to such relief. As grounds for this Motion, the United

States avers the following:

         The above-captioned adversary proceeding was filed on October 18, 2022. Dkt. No. 1. In

this adversary proceeding, Plaintiff seeks to discharge certain student loan obligations owed to

the U.S. Department of Education (DoE Loan). Plaintiff asserts that requiring her to repay the

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                                                 2

loans would constitute an undue hardship pursuant to 11 U.S.C. Sec. 523(a)(8).1

       The United States agrees that the Plaintiff is entitled to a discharge of the DOE Loan

obligations at issue in this proceeding. The parties have executed a proposed Consent Order that

accompanies this Motion.

                                             CONCLUSION

       For the foregoing reasons, the United States respectfully requests that it’s Motion be

granted.

                                      Respectfully submitted,

                                      JESSICA D. ABER
                                      UNITED STATES ATTORNEY

                              By: /s/ Robert K. Coulter
                                    Robert K. Coulter
                                    Assistant United States Attorney




1
 The Plaintiff and the U.S. Department of Education are the real parties in interest in this
proceeding. Although named as a party to this proceeding, Great Lakes Education Loan
Services, Inc., is a loan servicer, not a loan holder.
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                                  CERTIFICATE OF SERVICE

        I hereby certify a copy of foregoing will be filed with the United States Bankruptcy Court
electronically in the CM/ECF system. Notice of this filing will be sent to all parties by operation
of the Court's electronic filing system. Parties may access this filing through the Court's system.

Date: January 25, 2023

                                      /s/ Robert K. Coulter
                                      ROBERT K. COULTER
